Case 3:20-cr-00086-BJB-CHL Document 156 Filed 12/08/23 Page 1 of 3 PageID #: 5944




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                 AT LOUISVILLE


 COURT NO. 3:20-CR-86-1-BJB

 UNITED STATES OF AMERICA                                                   PLAINTIFF

 vs.

 KEITH B. HUNTER                                                         DEFENDANT

 and

 KENTUCKY PUBLIC PENSIONS AUTHORITY
 and its successors and assigns                                           GARNISHEE


                         FINAL ORDER OF GARNISHMENT


       A Writ of Continuing Garnishment, directed to Garnishee, Kentucky Public

 Pensions Authority, has been duly issued and served upon the Garnishee. (DN

 137, Certificate of Service.) Pursuant to the Writ of Continuing Garnishment, the

 Garnishee filed an answer stating that at the time of service of the Writ the

 Garnishee had in its possession or under its control personal property belonging to

 and due Defendant, and at that time Garnishee was indebted to Defendant in the

 sum of $25,126.27. (DN 136, Answer.)

       The Garnishee, as part of its Answer, included a letter stating the funds held

 by Garnishee were not in pay status. Therefore, “[i]n order to effectuate any

 garnishment of the retirement assets, the member must both terminate

 employment and either take a refund of her account, or if vested and eligible, apply

 for and begin receiving monthly benefits.” (DN 136-1, Answer.)
Case 3:20-cr-00086-BJB-CHL Document 156 Filed 12/08/23 Page 2 of 3 PageID #: 5945




        The United States may step into the shoes of the defendant and make an

 election on his behalf when he is eligible for a distribution but has not elected to

 receive one. United States v. National Bank of Commerce, 472 U.S. 713, 725 (1985).

 The United States seeks to exercise the defendant’s right to liquidate his account(s)

 held by the Garnishee at the earliest occurrence of a distributable event.

        On February 21, 2023, the Defendant was notified of his right to a hearing

 but has not requested a hearing to determine exempt property. (DN 138, Certificate

 of Service.)

        IT IS ORDERED that Garnishee shall liquidate the sum of $25,126.27 plus

 any additional funds that have been deposited into any and all accounts of

 the Defendant since February 20, 2023, the date Kentucky Public Pensions

 Authority was originally served with the Writ of Continuing Garnishment.

 This Order is not a Release. Garnishee is ordered to continue freezing and paying

 any and all monies received in the Defendant’s account(s) until the debt is paid in

 full or until the Garnishee no longer has custody, possession or control of any

 property belonging to the debtor or until further Order of this court. Payment(s)

 must be made payable and mailed to: United States District Court, Gene

 Snyder Courthouse, 601 W. Broadway, Room 106, Louisville, KY 40202.




                                                                   December 8, 2023
Case 3:20-cr-00086-BJB-CHL Document 156 Filed 12/08/23 Page 3 of 3 PageID #: 5946




 Tendered By:

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 cc:   USDC Finance
       Garnishee
       Defendant
